Case 2:14-cv-05368-PSG-CW Document 24 Filed 12/01/14 Page 1 of 6 Page ID #:133



    1
    2                                                  E-FILED 12/1/14

    3
    4
    5
    6
    7
    8
    9
   10
                            UNITED STATES DISTRICT COURT
   11
   12                     CENTRAL DISTRICT OF CALIFORNIA

   13
   14   ADOBE SYSTEMS INCORPORATED,                Case No.: 2:14-cv-05368-PSG-CW
        a Delaware Corporation,
   15                                              [PROPOSED] PRELIMINARY
   16               Plaintiff,                     INJUNCTION
   17         v.
   18
        DIGISOFT, LLC, a Washington Limited
   19   Liability Company; and DOES 1-10,
   20   Inclusive,
   21               Defendants.
   22
   23
   24         The Court, pursuant to the Stipulation for Entry of Preliminary Injunction
   25   Against Defendant Digisoft, LLC (“Stipulation”), entered between Plaintiff
   26   ADOBE SYSTEMS INCORPORATED (“Plaintiff”) and Defendant DIGISOFT,
   27   LLC (“Defendant”), hereby ORDERS, ADJUDICATES, and DECREES that a
   28   preliminary injunction shall be and hereby is entered pending resolution of this

                                                 1
                                 [PROPOSED] PRELIMINARY INJUNCTION
Case 2:14-cv-05368-PSG-CW Document 24 Filed 12/01/14 Page 2 of 6 Page ID #:134



    1   matter against Defendant as follows:
    2          1.     PRELIMINARY INJUNCTION.               Defendant and any person or
    3   entity acting in concert with, or at its direction, including any and all officers,
    4   directors, agents, servants, employees, and any others over which it may exercise
    5   control, are hereby restrained and enjoined from engaging in, directly or indirectly,
    6   or authorizing or assisting any third party to engage in, any of the following
    7   activities:
    8                 a.   importing, exporting, downloading, uploading, marketing,
    9   selling, offering for sale, distributing or dealing in any product or service that
   10   uses, or otherwise making any use of, any of Plaintiff’s Trademarks or
   11   Copyrights, including but not limited to ADOBE® ACROBAT®, CREATIVE
   12   SUITE®, DREAMWEAVER®, FLASH®, FIREWORKS®, ILLUSTRATOR®,
   13   INDESIGN®, and PHOTOSHOP® marks and works, and/or any Intellectual
   14   Property that is confusingly or substantially similar to, or that constitutes a
   15   colorable imitation of, any of Plaintiff’s Trademarks and Copyrights, whether
   16   such use is as, on, in or in connection with any trademark, service mark, trade
   17   name, logo, design, Internet use, website, domain name, meta tags, advertising,
   18   promotions, solicitations, commercial exploitation, television, web-based or any
   19   other program, or any product or service, or otherwise. A list of Plaintiff’s
   20   registered trademarks is attached and incorporated by reference herein as Exhibit
   21   “A” (collectively referred to herein as “Plaintiff’s Trademarks”).         A list of
   22   Plaintiff’s registered copyrights is attached and incorporated herein as Exhibit
   23   “B” (collectively referred to herein as “Plaintiff’s Copyrights”);
   24                 b.   importing, exporting, downloading, uploading, marketing,
   25   selling, offering for sale, distributing or dealing in any activation codes, keys, or
   26   serial numbers relating to any of Plaintiff’s purported Trademarks or Copyrights,
   27   including but not limited to ADOBE® ACROBAT®, CREATIVE SUITE®,
   28   DREAMWEAVER®,              FLASH®,        FIREWORKS®,            ILLUSTRATOR®,
                                                2
                                [PROPOSED] PRELIMINARY INJUNCTION
Case 2:14-cv-05368-PSG-CW Document 24 Filed 12/01/14 Page 3 of 6 Page ID #:135



    1   INDESIGN®, and PHOTOSHOP® marks and works, and/or any Intellectual
    2   Property that is confusingly or substantially similar to, or that constitutes a
    3   colorable imitation of, any of Plaintiff’s Trademarks or Copyrights;
    4                c.    importing, exporting, downloading, uploading, marketing,
    5   selling, offering for sale, distributing or dealing in any product or service that
    6   uses, or otherwise making any use of, any Original Equipment Manufacturer
    7   (“OEM”), educational or academic (“EDU”), government, foreign-made, Volume
    8   Licensing, or Adobe Employee Software Purchasing Program software, activation
    9   keys, code, or serial numbers relating to Plaintiff’s Trademarks or Copyrights,
   10   including but not limited to ADOBE® ACROBAT®, CREATIVE SUITE®,
   11   DREAMWEAVER®,              FLASH®,        FIREWORKS®,            ILLUSTRATOR®,
   12   INDESIGN®, and PHOTOSHOP® marks and works;
   13                d.    maintaining active for downloading purposes any servers,
   14   computer terminals and/or portals, or any electronic storage medium containing
   15   any of Plaintiff’s Trademarks and Copyrights, including but not limited to
   16   ADOBE® ACROBAT®, CREATIVE SUITE®, DREAMWEAVER®, FLASH®,
   17   FIREWORKS®, ILLUSTRATOR®, INDESIGN®, and PHOTOSHOP® marks
   18   and works, and/or any Intellectual Property that is confusingly or substantially
   19   similar to, or that constitutes a colorable imitation of, any of Plaintiff’s
   20   Trademarks or Copyrights;
   21                e.    performing or allowing others employed by or representing
   22   them, or under their control, to perform any act or thing which is likely to injure
   23   Plaintiff, any of Plaintiff’s Trademarks or Copyrights, including but not limited to
   24   ADOBE® ACROBAT®, CREATIVE SUITE®, DREAMWEAVER®, FLASH®,
   25   FIREWORKS®, ILLUSTRATOR®, INDESIGN®, and PHOTOSHOP® marks
   26   and works, and/or Plaintiff’s business reputation or goodwill, including making
   27   disparaging, negative, or critical comments regarding Plaintiff or its products;
   28

                                                3
                                [PROPOSED] PRELIMINARY INJUNCTION
Case 2:14-cv-05368-PSG-CW Document 24 Filed 12/01/14 Page 4 of 6 Page ID #:136



    1                f.     engaging in any conduct that falsely represents that, or is likely
    2   to confuse, mislead, or deceive purchasers, customers, or members of the public to
    3   believe that Defendant itself is connected with, is in some way sponsored by or
    4   affiliated with, purchases products from, or otherwise has a business relationship
    5   with Plaintiff;
    6                g.     hiding, disposing of, destroying, moving, relocating, or
    7   transferring any and all products, advertising, promotional materials, or packaging
    8   bearing and/or comprised of any of Plaintiff’s Trademarks or Copyrights,
    9   including but not limited to the ADOBE® ACROBAT®, CREATIVE SUITE®,
   10   DREAMWEAVER®,              FLASH®,         FIREWORKS®,           ILLUSTRATOR®,
   11   INDESIGN®, and PHOTOSHOP® marks and works, and/or any Intellectual
   12   Property that is confusingly or substantially similar to, or that constitutes a
   13   colorable imitation of, any of Plaintiff’s Trademarks or Copyrights;
   14                h.     hiding, disposing of, destroying, moving, relocating, or
   15   transferring any and all business records, specifically including any accountings,
   16   sales and supply logs, customer journals, ledgers, invoices, and purchase orders,
   17   concerning Defendant’s import, export, download, upload, marketing, sale, offer
   18   for sale, distribution or dealing in any product or service that uses, or otherwise
   19   making any use of, any of Plaintiff’s Trademarks or Copyrights, including but not
   20   limited    to     the   ADOBE®         ACROBAT®,           CREATIVE         SUITE®,
   21   DREAMWEAVER®,              FLASH®,         FIREWORKS®,           ILLUSTRATOR®,
   22   INDESIGN®, and PHOTOSHOP® marks and works, and/or any Intellectual
   23   Property that is confusingly or substantially similar to, or that constitutes a
   24   colorable imitation of, any of Plaintiff’s Trademarks or Copyrights;
   25                i.     hiding, disposing of, destroying, moving, relocating, or
   26   transferring any and all computers, tablets, servers, blade, electronic storage
   27   devices, data, meta data, electronic storage media, disks, CDs, DVDs, drives, flash
   28   drives, hard drives, or related computer systems that include, denote, contain,
                                                4
                                [PROPOSED] PRELIMINARY INJUNCTION
Case 2:14-cv-05368-PSG-CW Document 24 Filed 12/01/14 Page 5 of 6 Page ID #:137



    1   possess, maintain and/or are used to transfer any software, computer source code,
    2   computer information, decrypted code, directories, files, libraries, and any related
    3   data that relate (either directly or indirectly) to Plaintiff’s Trademarks or
    4   Copyrights; and
    5                j.        using any Internet domain name that includes any of Plaintiff’s
    6   Trademarks or Copyrights, including but not limited to the ADOBE®
    7   ACROBAT®,          CREATIVE          SUITE®,      DREAMWEAVER®,            FLASH®,
    8   FIREWORKS®, ILLUSTRATOR®, INDESIGN®, and PHOTOSHOP® marks
    9   and works.
   10         2.     This Preliminary Injunction shall cover Defendant’s activities
   11   through any and all sales channels, including but not limited to brick-and-mortar
   12   stores, eBay, iOffer, Craigslist, the website located at digisoftstore.com, the
   13   website located at genuine-products.com, and any and all other websites,
   14   platforms or sales channels.
   15         3.     If Defendant believes any product was specifically authorized for
   16   resale by Plaintiff, Defendant shall first present such evidence to Adobe and/or the
   17   Court. Adobe and/or the Court will determine whether any such products may be
   18   deemed excluded from this Preliminary Injunction.
   19         4.     Defendant is ordered to deliver to Plaintiff an accounting of all
   20   purported ADOBE® products in their possession or under their control bearing
   21   and/or comprised of any of Plaintiff’s Trademarks or Copyrights, including but
   22   not   limited     to    the   ADOBE®        ACROBAT®,        CREATIVE       SUITE®,
   23   DREAMWEAVER®,                 FLASH®,        FIREWORKS®,          ILLUSTRATOR®,
   24   INDESIGN®, and PHOTOSHOP® marks and works, and/or any Intellectual
   25   Property that is confusingly or substantially similar to, or that constitutes a
   26   colorable imitation of, any of Plaintiff’s Trademarks or Copyrights.
   27         5.     Plaintiff shall not be required to post a bond relating to the entry of
   28   this Stipulated Preliminary Injunction.
                                                   5
                                   [PROPOSED] PRELIMINARY INJUNCTION
Case 2:14-cv-05368-PSG-CW Document 24 Filed 12/01/14 Page 6 of 6 Page ID #:138



    1         6.    The Preliminary Injunction shall expire upon the termination of this
    2   Action, the voluntary dissolution by the Parties, or the entry of a Permanent
    3   Injunction. The Preliminary Injunction is entered without prejudice to the rights
    4   of either party to make a motion to modify or vacate the Preliminary Injunction at
    5   any time for any reason.
    6         7.    This Preliminary Injunction shall be deemed to have been served
    7   upon Defendant at the time of its execution and entry by the Court.
    8
              PURSUANT TO THE STIPULATION, IT IS SO ORDERED, and
    9
        DECREED this ______
                      1st   day of _____________,
                                   December       2014.
   10
   11
                                              ______________________________
   12
                                              HON. PHILIP S. GUTIERREZ
   13                                         United States Senior District Judge
                                              Central District of California
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                               6
                               [PROPOSED] PRELIMINARY INJUNCTION
